        Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 1 of 14



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,


        - v. -                                                  No. S2 16 Cr. 776 (VEC)

 JOSEPH PERCOCO, a/k/a “Herb,”
 PETER GALBRAITH KELLY, JR.,
 STEVEN AIELLO, and
 JOSEPH GERARDI,

                               Defendants.



                 DEFENDANTS’ PROPOSED JUROR QUESTIONNAIRE


JUROR NUMBER _______

PLEASE PRINT ALL ANSWERS LEGIBLY IN BLUE OR BLACK INK.

Introduction

       The purpose of this questionnaire is to provide information to the Court and to the

attorneys in this case—both the prosecutors and the defense attorneys—so that they can

determine whether you can serve as a fair and impartial juror in this case. You must give true,

candid, and complete answers to every question. This is a criminal case, entitled United States

of America versus Joseph Percoco, Peter Galbraith Kelly, Jr., Steven Aiello, and Joseph Gerardi.

Briefly summarized, the Government has charged Joseph Percoco, the former Executive Deputy

Secretary to the Governor of New York, Peter Galbraith Kelly, Jr., Steven Aiello, and Joseph

Gerardi with public corruption offenses involving the New York State Governor’s Office,

including allegations of bribery, fraud and extortion. Defendants Steven Aiello and Joseph
        Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 2 of 14


JUROR NUMBER _______

Gerardi are also charged with making false statements to federal officers. The defendants have

pled not guilty and each one is presumed innocent unless and until proven guilty.

       Do not discuss this questionnaire or your answers with anyone, including Court personnel

and your fellow potential jurors. Please do not leave any questions unanswered. If you do not

understand a question, write that on the questionnaire and we will discuss it with you later.

Please write your juror number on the top of each page of the questionnaire. Do not write your

name on the document. There is an extra page at the back of the questionnaire if you need

additional space for your answers. Do not write on the back of any page of the questionnaire.


       There are no “right” or “wrong” answers; there are only truthful answers. You are sworn

to give truthful answers, so you must provide full and accurate information in response to each

question.


NOTE: Do not do any research regarding this case. That means you should not “look up” the

case or any of the names mentioned in the questionnaire on the Internet or in any other manner.

Do not discuss this case, this questionnaire or your answers to the questions with anyone—not

your fellow jurors, your family, your employer, or your friends.




                                                 2
       Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 3 of 14


JUROR NUMBER _______


Questions

      1.      Do you or does any member of your family or a close friend personally know or
      have / have had any dealings with any of the following individuals?

      a. The defendants: Joseph Percoco, Peter Galbraith Kelly, Jr., Steven Aiello, or Joseph
         Gerardi?

                  􀜆 Yes              􀜆 No

      If yes, whom do you know?




      b.    The Acting U.S. Attorney for the Southern District of New York, Joon H. Kim or
      anyone else who works for or used to work for the U.S. Attorney’s Office?

                  􀜆 Yes              􀜆 No

      If yes, whom do you know?




      c.       Any of the Assistant United States Attorneys who are prosecuting this case?

            Janis Echenberg                 􀜆 Yes          􀜆 No

            David Zhou                      􀜆 Yes          􀜆 No

            Robert Boone                    􀜆 Yes          􀜆 No

            Matthew Podolsky                􀜆 Yes          􀜆 No


      If yes, whom do you know?




      d.       Any of the defense attorneys or law firms who are representing the defendants:

            Barry A. Bohrer of Schulte Roth & Zabel LLP                   􀜆 Yes          􀜆 No
                                               3
     Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 4 of 14


JUROR NUMBER _______

        Michael L. Yaeger of Schulte Roth & Zabel LLP                  􀜆 Yes          􀜆 No

        Andrew D. Gladstein of Schulte Roth & Zabel LLP                􀜆 Yes          􀜆 No

        Abigail F. Coster of Schulte Roth & Zabel LLP                  􀜆 Yes          􀜆 No

        Daniel M. Gitner of Lankler Siffert & Wohl LLP                 􀜆 Yes          􀜆 No

        Jun Xiang of Lankler Siffert & Wohl LLP                        􀜆 Yes          􀜆 No

        Samantha J. Reitz of Lankler Siffert & Wohl LLP                􀜆 Yes          􀜆 No

        Rachel S. Berkowitz of Lankler Siffert & Wohl LLP              􀜆 Yes          􀜆 No

        Stephen R. Coffey of O’Connell & Aronowitz                     􀜆 Yes          􀜆 No

        Scott W. Iseman of O’Connell & Aronowitz                       􀜆 Yes          􀜆 No

        Milton L. Williams of Walden Macht & Haran LLP                 􀜆 Yes          􀜆 No

        Avni P. Patel of Walden Macht & Haran LLP                      􀜆 Yes          􀜆 No


     If yes, whom do you know?




     e.    The United States District Court Judge who is presiding over this case, Valerie
     Caproni, or any of her staff?

                􀜆 Yes             􀜆 No

     If yes, whom do you know?



     If you answered “yes” to any of the above questions, please explain how you know the
     individual(s):




                                             4
      Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 5 of 14


JUROR NUMBER _______

     If you answered “yes” to any of the above questions, please state whether your
     relationship with that person might affect your ability to be fair and impartial in this case:




     2.     Before today, had you read, seen, or heard anything about criminal charges being
     brought against Joseph Percoco, Peter Galbraith Kelly, Jr., Steven Aiello, and Joseph
     Gerardi?

                􀜆 Yes               􀜆 No

     If yes, what do you recall?




     If yes, from whom did you hear about the case (e.g., a friend, the newspaper, a website)?




     3.      Do you have any personal knowledge of the facts underlying the indictment as
     they are described above?

     If yes, please explain:




                                               5
        Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 6 of 14


JUROR NUMBER _______

       4.      Based on anything that you might have read, seen or heard about this case, have
       you formed any opinion about any of the defendants that might make it difficult for you
       to be a fair and impartial juror in this case?

                  􀜆 Yes               􀜆 No

                  􀜆 Not applicable; I have heard nothing about this case.


       If yes, please explain:




       5.      Based on anything you have read, seen, or heard about this case, would you be
       able to follow the Court’s instruction to put that information out of your mind and decide
       this case based only on the evidence presented at trial?

                  􀜆 Yes               􀜆 No

                  􀜆 Not applicable; I have heard nothing about this case.

       If no, please explain:




       6.      [Have you followed the news about the trials of political officials in recent
              1
       years?]

1
        The defense would like to include Question 6. The Government objects and offers no
alternative formulation. The defense believes that, given the amount of media attention to the
Silver and Skelos cases, it is likely that some prospective jurors have both heard and formed
opinions about the fact that these convictions were overturned. Given how close in time these
                                                 6
        Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 7 of 14


JUROR NUMBER _______


                   􀜆 Yes              􀜆 No

       If yes, do you have any feelings about those trials or their outcomes?

                   􀜆 Yes              􀜆 No

       If yes, please explain:




       7.     Is there anything about the nature of this case, including the fact that it involves
       accusations of bribery and corruption by someone associated with the Governor’s Office,
       that would make it difficult for you to be a fair and impartial juror?

                   􀜆 Yes              􀜆 No

       If yes, please explain:




       8.      [Do you have any opinions about politicians, government officials, or anyone else
       who works in government that may affect your ability to be a fair and impartial juror in
       this case?]2

cases were to each other, some may have formed generalized opinions about how cases
involving political officials are handled in the courts. We hope to identify these opinions and
those who hold them. The questionnaire allows prospective jurors to express their opinions
without tainting other jurors. Moreover, this question is worded broadly enough that they do not
prime those who are unfamiliar with Skelos, Silver, and McDonnell, nor do they advance
defense positions.
2
        The defense would like to include Question 8. The Government objects and offers no
alternative formulation. The defense believes that this question is neutral and consistent with the
following question from the Silver questionnaire: “Is there anything about the nature of this case,
including the identity of the defendant or the fact that it involves accusations of bribery and
                                                 7
        Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 8 of 14


JUROR NUMBER _______


                   􀜆 Yes               􀜆 No

       If yes, please explain:




       9.      [Have you or has anyone close to you ever made campaign contributions to
       political candidates?]3

                   􀜆 Yes               􀜆 No

       10.     [Do you have any feelings about individuals and companies that make relatively
       large campaign contributions to political candidates?]

                   􀜆 Yes               􀜆 No

       If yes, please explain:




kickbacks by an elected official, that would make it difficult for you to be a fair and impartial
juror.” Our proposed question and the question preceding it are designed to determine whether
any juror would have trouble being fair or impartial because of the nature of the case and the
participants.
3
         The defense would like to include Questions 9 and 10. The Government objects and
offers no alternative formulation. The defense wants to ensure that jurors are not prejudiced by
pre-existing negative beliefs about behaviors that are legal. Alternatively, the defense requests
that a formulation of this question be included in the Court’s oral voir dire (e.g., “I will instruct
you that, under the law, campaign contributions are a form of speech protected under the First
Amendment, and that is lawful for a company to give campaign contributions to candidates who
it believes will be supportive of policies the company favors. Do you have any hesitation about
being able to follow that instruction?”).
                                                  8
      Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 9 of 14


JUROR NUMBER _______


     11.    Do you have any opinion of the U.S. Attorney’s Office for the Southern District
     of New York or the Acting U.S. Attorney Joon H. Kim that might make it difficult for
     you to be a fair and impartial juror in this case?

                􀜆 Yes              􀜆 No

     If yes, please explain:




     12.    Do you have any opinions about criminal defense attorneys generally that might
     make it difficult for you to be a fair and impartial juror in this case?

                􀜆 Yes              􀜆 No

     If yes, please explain:




     13.     Do you have any opinion about the criminal justice system generally or the
     federal criminal justice system that might make it difficult for you to be a fair and
     impartial juror in this case?

            􀜆 Yes                  􀜆 No


     If yes, please explain:




                                              9
        Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 10 of 14


JUROR NUMBER _______


       14.  Have you, or has any member of your family or a close friend, ever worked for
       New York Governor Andrew Cuomo or for a New York State agency?

                       􀜆 Yes          􀜆 No

       If yes, please identify who it was and what position or agency:
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________

       15.    Do you or does any member of your family or a close friend have any experience
       lobbying the government (local, state, or federal)?

                   􀜆 Yes              􀜆 No

       If yes, was there anything about your or their experience that might make it difficult for
       you to be a fair and impartial juror in a case that involves lobbying?




       16.     Do you or does anyone close to you work in the energy industry, [or in any field
       related to the environment and environmental resources?]4

                   􀜆 Yes              􀜆 No

       If yes, please explain:



4
         The defense would like to include Question 16. The Government agrees to the phrase
“[d]o you or does anyone close to you work in the energy industry,” but objects to the phrase “or
in any field related to the environment and environmental resources.” The defense believes that
this phrase is important and relevant as the Reciprocity Agreement implicates environmental
issues and regulators. Moreover, there have been high-profile environmental protests of a CPV
facility at issue in this case, including during a pre-trial conference. We need to identify whether
any juror would harbor a bias for environmental reasons.
                                                10
     Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 11 of 14


JUROR NUMBER _______




     17.    Do you or does anyone close to you work in the construction or real estate
     industry?

                􀜆 Yes               􀜆 No

     If yes, please explain:




     18.     Have you or any member of your family or a close friend ever had any personal
     interaction with either of the following companies?

                    Competitive Power Ventures (CPV) 􀜆
                    COR                              􀜆

     If yes, please explain:




     19.    Do you or does any member of your family or a close friend know or have / have
     had dealings with:

        [List to be provided by all parties prior to trial]     􀜆 Yes          􀜆 No

     If yes, please indicate whom you know and how you know them:




                                               11
     Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 12 of 14


JUROR NUMBER _______




     20.   Do you have any religious or ethical beliefs that would prevent you from passing
     judgment on another person?

                􀜆 Yes             􀜆 No

     If yes, please explain:




     21.    Do you have any difficulty with your eyesight or hearing, or have any medical
     condition that would make it difficult for you to serve on a jury?

                􀜆 Yes             􀜆 No

     If yes, please explain:




     22.    Do you have any difficulty reading or understanding the English language?

                􀜆 Yes             􀜆 No

     23.    The trial of this case may last up to [] weeks. The jury will sit Mondays through
     Thursdays from approximately 9:30 a.m. to 5:30 p.m. The Court will not sit on Martin
     Luther King Day, which is Monday, January 15. All jury service involves some degree
     of hardship. Would service as a juror in this case be a serious hardship for you?

                􀜆 Yes             􀜆 No



                                            12
     Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 13 of 14


JUROR NUMBER _______

     If yes, please explain why serving on the jury for this case would cause you a serious
     hardship:




     Please note: In the event you are excused from service on this jury, you will not be
     excused from jury service in general. You will instead be required to report to the
     Court’s Jury Clerk for placement on another panel for another case.

     I swear (or affirm) that all of the answers provided above are truthful.




     Juror Number




                                              13
     Case 1:16-cr-00776-VEC Document 408 Filed 12/20/17 Page 14 of 14


JUROR NUMBER _______

     Extra space for your answers to any of the questions. Please write the question number:

     ________________________________________________________________________
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